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                   8
                   9                            UNITED STATES DISTRICT COURT
              10                              CENTRAL DISTRICT OF CALIFORNIA
              11
                        CITY OF ALMATY,                           Case No. 14-cv-03650-FMO(FFMx)
              12                                                  Consolidated with Case No. 15-cv-02628-
                                          Plaintiff,              FMO
              13
                                v.                                Assigned To: Hon. Fernando M. Olguin
              14
                        VIKTOR KHRAPUNOV, et al.,                 REQUEST FOR JUDICIAL NOTICE
              15                                                  IN SUPPORT OF PLAINTIFF CITY
                                          Defendants.             OF ALMATY’S OPPOSITION TO
              16                                                  DEFENDANTS’ MOTION TO
                                                                  DISMISS FIRST CONSOLIDATED
              17                                                  AMENDED COMPLAINT FOR
                                                                  FAILURE TO STATE A CLAIM
              18                                                  UNDER RULE 12(b)(6)
              19                                                  Proposed Order; Plaintiff’s Opposition to
                                                                  Defendants’ Motion to Dismiss First
              20                                                  Consolidated Amended Complaint For
                                                                  Failure to State a Claim Under Rule
              21                                                  12(6)(b) Filed Concurrently Herewith
              22                                                  Action Filed:     May 13, 2014
              23                                                  Hearing Date: April 5, 2018
                                                                  Hearing Time: 10:00 a.m.
              24                                                  Courtroom:    6D
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              28
                       US-DOCS\99503608                                    REQUEST FOR JUDICIAL NOTICE ISO PLAINTIFF’S
ATTORNEYS AT LAW
  LOS ANGELES
                                                                         OPPOSITION TO DEFENDANTS’ MOTION TO DISMISS
                                                                             FIRST CONSOLIDATED AMENDED COMPLAINT
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                   1            Pursuant to Federal Rule of Evidence 201, Plaintiff the City of Almaty
                   2 (“Plaintiff”) hereby requests that this Court take judicial notice of certain orders
                   3 and pleadings in other court proceedings and other publically available documents
                   4 described below. This request, and the documents for which it seeks judicial
                   5 notice, is submitted in support of Plaintiff’s Opposition to Defendants’ Motion to
                   6 Dismiss First Consolidated Amended Complaint for Failure to State a Claim Under
                   7 Rule 12(b)(6) (“Opposition”) filed concurrently herewith.
                   8 I.         DESCRIPTION OF DOCUMENTS
                   9            Plaintiff respectfully requests that this Court take judicial notice of the
              10 following documents, which are attached as exhibits hereto:
              11                1.        INTERPOL Red Notice for Ilyas (Iliyas) Khrapunov, available at
              12                          https://www.interpol.int/notice/search/wanted/2014-26980, a true and
              13                          correct copy of which is attached hereto as Exhibit A.
              14                2.        INTERPOL Red Notice for Viktor Khrapunov, available at
              15                          https://www.interpol.int/notice/search/wanted/2012-10416, a true and
              16                          correct copy of which is attached hereto as Exhibit B.
              17                3.        INTERPOL Red Notice for Leila Khrapunova, available at
              18                          https://www.interpol.int/notice/search/wanted/2012-334222, a true
              19                          and correct copy of which is attached hereto as Exhibit C.
              20                4.        A judgment dated November 26, 2013, issued by the U.K. Courts in
              21                          JSC BTA Bank v. Ablyazov, 2013 EWHC 3691, a true and correct
              22                          copy of which is attached hereto as Exhibit D.
              23                5.        A Memorandum and Order, dated June 24, 2016 (Dkt. No. 175),
              24                          issued by Judge Nathan, District Judge of the Southern District of
              25                          New York, in CF 135 Flat LLC v. Triadou SPV N.A., No. 15-cv-5345
              26                          (AJN), a true and correct copy of which is attached hereto as
              27                          Exhibit E.
              28                6.        A Memorandum and Order of Attachment, dated July 18, 2016 (Dkt.
                       US-DOCS\99503608                                          REQUEST FOR JUDICIAL NOTICE ISO PLAINTIFF’S
ATTORNEYS AT LAW
  LOS ANGELES                                                          1       OPPOSITION TO DEFENDANTS’ MOTION TO DISMISS
                                                                                   FIRST CONSOLIDATED AMENDED COMPLAINT
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                   1                      No. 192), issued by Judge Nathan, District Judge of the Southern
                   2                      District of New York, in Almaty v. Ablyazov, No. 15-cv-05345 (AJN),
                   3                      a true and correct copy of which is attached hereto as Exhibit F.
                   4            7.        An order dated March 5, 2018 (Dkt. No. 564), issued by Judge Parker,
                   5                      Magistrate Judge of the Southern District of New York, in Almaty v.
                   6                      Ablyazov, No. 15-cv-05345 (AJN) (KHP), a true and correct copy of
                   7                      which is attached hereto as Exhibit G.
                   8            8.        Amended Crossclaims of City of Almaty and BTA Bank (Dkt. No.
                   9                      219), filed September 7, 2016, in Almaty v. Ablyazov, No. 15-cv-
              10                          05345 (AJN), a true and correct copy of which is attached hereto as
              11                          Exhibit H.
              12                9.        A memorandum and order dated June 21, 2016 (Dkt. No. 174), issued
              13                          by Judge Nathan, District Judge of the Southern District of New York,
              14                          in CF 135 Flat LLC v. Triadou SPV N.A., No. 15-cv-5345 (AJN), a
              15                          true and correct copy of which is attached hereto as Exhibit I.
              16 II.            THE DOCUMENTS ARE JUDICIALLY NOTICEABLE
              17                In ruling on a motion to dismiss, courts may consider materials that are
              18 judicially noticeable under Rule 201 of the Federal Rules of Evidence. Lee v. City
              19 of Los Angeles, 250 F.3d 668, 688-89 (9th Cir. 2001). Under Rule 201, a court
              20 may take judicial notice of facts that are “not subject to reasonable dispute”
              21 because they are “generally known within the trial court’s territorial jurisdiction”
              22 or “can be accurately and readily determined from sources whose accuracy cannot
              23 reasonably be questioned.” Fed. R. Evid. 201(b). A court must take judicial notice
              24 at a party’s request when “supplied with the necessary information.” Fed. R. Evid.
              25 201(c).
              26                Pursuant to Rule 201, courts routinely take judicial notice of the findings and
              27 orders of other courts, as well as pleadings in other court proceedings. Callan v.
              28 New York Cmty. Bank, 643 F. App’x 666, 666-67 (9th Cir. 2016) (affirming
                       US-DOCS\99503608                                          REQUEST FOR JUDICIAL NOTICE ISO PLAINTIFF’S
ATTORNEYS AT LAW
  LOS ANGELES                                                          2       OPPOSITION TO DEFENDANTS’ MOTION TO DISMISS
                                                                                   FIRST CONSOLIDATED AMENDED COMPLAINT
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                   1 judicial notice of complaint, demurrer and judgment in another case in ruling on a
                   2 motion to dismiss); Reyn’s Pasta Bella, LLC v. Visa USA, Inc., 442 F.3d 741, 746
                   3 n.6 (9th Cir. 2006) (courts “may take judicial notice of court filings and other
                   4 matters of public record”); Foley v. Syrian Arab Republic, 249 F. Supp. 3d 186,
                   5 191 (D.D.C. 2017) (taking judicial notice of factual findings in other proceedings
                   6 regarding the defendant’s support of a terrorist organization).
                   7            Likewise, foreign judgments are subject to judicial notice. Gabbanelli
                   8 Accordions & Imports, L.L.C. v. Gabbanelli, 575 F.3d 693, 696 (7th Cir. 2009)
                   9 (“An American court can take judicial notice of a foreign judgment[.]”);
              10 Lichtenstein v. Cader, No. 13-2690, 2013 WL 4774717, at *2 (S.D.N.Y. Sept. 6,
              11 2013) (“Notably, foreign judgments are matters subject to judicial notice.”).
              12                Finally, the Court may take judicial notice of an Interpol Red Notice as a
              13 matter of public record. “An Interpol Red Notice is the closest instrument to an
              14 international arrest warrant in use today. Interpol (the International Criminal
              15 Police Organization) circulates notices to member countries listing persons who
              16 are wanted for extradition.” United States Department of Justice, U.S. Attorneys’
              17 Criminal Resource Manual § 611, https://www.justice.gov/usam/criminal-
              18 resource-manual-611-interpol-red-notices (last visited Mar. 8, 2018). Arrest
              19 warrants are considered matters of public record and are subject to judicial notice.
              20 Ferguson v. United States, No. 15-1253, 2016 WL 4793180, at *3 (S.D. Cal. Sept.
              21 14, 2016) (taking judicial notice of arrest warrant as a matter of public record);
              22 Klahn v. Alameda Cty. Sheriff’s Dep’t, No. 16-833, 2017 WL 565050, at *11 (N.D.
              23 Cal. Feb. 13, 2017) (same).
              24                For the reasons set forth above, Plaintiff respectfully requests that this Court
              25 take judicial notice of the documents described above and attached hereto.
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                       US-DOCS\99503608                                        REQUEST FOR JUDICIAL NOTICE ISO PLAINTIFF’S
ATTORNEYS AT LAW
  LOS ANGELES                                                        3       OPPOSITION TO DEFENDANTS’ MOTION TO DISMISS
                                                                                 FIRST CONSOLIDATED AMENDED COMPLAINT
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                   1 Dated: March 8, 2018   LATHAM & WATKINS LLP
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                       US-DOCS\99503608                     REQUEST FOR JUDICIAL NOTICE ISO PLAINTIFF’S
ATTORNEYS AT LAW
  LOS ANGELES                                      4      OPPOSITION TO DEFENDANTS’ MOTION TO DISMISS
                                                              FIRST CONSOLIDATED AMENDED COMPLAINT
